                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

    In re:                                                     Case No. 21-44887-lsg
                                                               Chapter 11, Subchapter V
    SILVERSIDE SENIOR LIVING,                                  Hon. Lisa S. Gretchko
    LLC, et al., 1
         Debtor.
    _________________________________________/

      STIPULATED ORDER FOR THE REMOVAL OF THE DEBTORS AS
           DEBTORS-IN-POSSESSION UNDER 11 U.S.C. § 1185(a)

             This matter came before the Court upon the stipulation (“Stipulation”; ECF
No. 306) among the Debtors, the Subchapter V Trustee, and the United States
Trustee. On November 18, 2022, the Court held a hearing (“Hearing”) on the
Stipulation. Counsel for the Debtors, the Subchapter V Trustee, the United States
Trustee, counsel for the United States, and counsel for Chippewa Valley, LLC
appeared at the Hearing. The Court finds that the facts recited in the Stipulation
together with the statements made at the Hearing establish cause for entry of this
Order for removal of the Debtors as debtors-in-possession pursuant to 11 U.S.C. §
1185(a). The Court is advised in the premises.
             NOW, THEREFORE, IT IS HEREBY ORDERED that the Debtors shall
not remain in possession, and are removed under 11 U.S.C. § 1185(a).
             IT IS FURTHER ORDERED that the provisions in the Stipulation
pertaining to possession of the Debtors’ assets are approved.


Signed on November 18, 2022




1 The debtors in these jointly administered proceedings along with the last four digits of their
respective federal tax id numbers are Silverside Senior Living, LLC (2357) [Case No. 21-44887-
lsg] and Graceway South Haven, LLC (9393) [Case No. 21-44888-lsg].
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